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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


KIA TANG, derivatively on behalf of                     Case No.:
COUPANG, INC.,

      Plaintiff,
                                                        DEMAND FOR JURY TRIAL
      v.

BOM SUK KIM, GAURAV ANAND, NEIL
MEHTA, BENJAMIN SUN, MICHAEL
PARKER, MATTHEW CHRISTENSEN, LYDIA
JETT, HARRY YOU, and KEVIN WARSH,

      Defendants,

      and

COUPANG, INC.,

      Nominal Defendant.

                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       Plaintiff Kia Tang (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively and on

behalf of Nominal Defendant Coupang, Inc. (“Coupang” or the “Company”), files this Verified

Shareholder Derivative Complaint against Defendants Bom Suk Kim (“Kim”), Gaurav Anand

(“Anand”), Neil Mehta (“Mehta”), Benjamin Sun (“Sun”), Michael Parker (“Parker”), Matthew

Christensen (“Christensen”), Lydia Jett (“Jett”), Harry You (“You”), and Kevin Warsh (“Warsh”)

(collectively, the “Individual Defendants” and with Coupang, “Defendants”) for breaches of

their fiduciary duties as directors and/or officers of Coupang, unjust enrichment, gross

mismanagement, violation of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

Act”), and for contribution and indemnification under Section 10(b) and 21D of the Exchange Act

and under Section 11(f) of the Securities Act of 1933 (the “Securities Act”).


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       As for Plaintiff’s complaint against the Individual Defendants, Plaintiff alleges the

following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and information

and belief as to all other matters, based upon, inter alia, the investigation conducted by and

through Plaintiff’s attorneys, which included, among other things, a review of the Defendants’

public documents, conference calls and announcements made by Defendants, United States

Securities and Exchange Commission (“SEC”) filings, wire and press releases published by and

regarding Coupang, legal filings, news reports, securities analysts’ reports and advisories about

the Company, and information readily obtainable on the Internet. Plaintiff believes that

substantial evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                 NATURE OF THE ACTION

       1.       This is a shareholder derivative action to remedy misconduct committed by

Coupang’s current and/or former directors and officers from March 11, 2021 to March 15, 2022

(the “Relevant Period”) based on misleading statements and omissions made in connection with

Coupang’s March 2021 initial public offering (“IPO”), failures to correct the misleading

statements and omissions, and additional misleading statements made subsequent to the IPO.

       2.       Coupang is one of the largest e-commerce companies in Asia. Headquartered in

Seattle, Washington, Coupang operates an online marketplace that offers a wide range of

products, including home goods, electronics, fresh groceries, and its own private label (“PB”)

branded items. Not only does Coupang sell its own inventory of goods which it sources from a

network of “suppliers,” it also allows third-party “merchants” to sell their own goods on its

platform. Coupang’s relationship with these merchants allows it to provide a much wider selection

of products to customers than would otherwise be possible, adding to its appeal and convenience.



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       3.       To break the traditional tradeoff between wide selection and quick delivery,

Coupang built a vertically integrated distribution network of approximately 100 logistics centers

across South Korea and its very own fleet of dedicated delivery drivers. By the start of the

Relevant Period, approximately 70% of South Korea’s 51 million residents lived within 7 miles

of a Coupang logistics facility, enabling Coupang to offer speedy delivery options on millions of

items through its “Rocket Delivery” service, including next-day and same-day delivery. Due to

its large footprint and quick delivery, Coupang became known as the “Amazon of South Korea.”

Much of Coupang’s ability to retain and attract customers is based on the speed and convenience

of ordering from Coupang, made possible by its large supply chain infrastructure.

       4.       Through its unique business model of wide selection, speed, and convenience,

Coupang experienced consistent revenue growth, securing its place as the largest player in the

South Korean e-commerce market. The Company’s revenue continued to skyrocket in 2020 as

the COVID-19 pandemic increased customers’ preference for the conveniences of online

shopping and home delivery. Coupang’s total revenue tripled from $4 billion to almost $12 billion

in the three-year span from 2018 to 2020.

       5.       To capitalize on its explosive growth, Coupang decided to commence an IPO in

the United States in early 2021. On February 12, 2021, Coupang filed with the SEC an initial

draft of the registration statement filed on Form S-1, which, after two amendments, was declared

effective on March 10, 2021(as amended, the “IPO Registration Statement”). On March 11, 2021,

Coupang filed with the SEC a final prospectus on Form 424B4, which formed part of the IPO

Registration Statement (the “Prospectus”). Pursuant to these IPO materials, Coupang sold to the

investing public 100 million shares of Coupang Class A common stock at $35 per share, for total

gross proceeds of $3.5 billion. Coupang’s IPO was the largest by a foreign company on Wall



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Street since China’s Alibaba Group Holding Limited’s debut in 2014.

       6.       Soon after market open on March 24, 2021, news broke that a Coupang employee

in his early 40s died his second day on the job. As the Korea Herald reported the next morning,

“[t]he courier’s death immediately triggered speculation that he may have become the latest

delivery worker to die from apparent overwork.” After the close of trading on March 24, 2021,

media sources published an official statement from Coupang revealing that the deceased courier

was allowed to begin delivering packages even though he displayed “heart-related abnormalities”

during his initial medical examination.

       7.       On this news, Coupang’s stock dropped from $46.00 on March 23, 2021, to close

at $43.70 on March 25, 2021, representing a decline of 5%.

       8.       On April 4, 2021, the owner of a small business who sold goods on Coupang’s

remodeled marketplace for third-party merchants, (the “Item Market”), appeared on MBC Radio

Show’s investigative program “Straight” and revealed how Coupang was using the trade material

of this small business owner to advertise and secure sales for other merchants in Coupang’s Item

Market.

       9.       On this news, Coupang’s stock price declined from $47.31 to close at $45.94 on

April 5, 2021, or approximately 2.9%.

       10.      After market close on May 3, 2021, a number of civic groups announced that they

reported Coupang to the Korea Fair Trade Commission (“KFTC”) for requiring small business

owners to hand over their protected trade materials in its Seller Terms and Conditions.

       11.      On this news, Coupang’s stock price declined from $42.06 to close at $41.49 on

May 4, 2021, representing a drop of 1.3%.

       12.      On May 10, 2021, civic groups representing the interests of small business owners



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in South Korea met at the non-governmental organization, People’s Solidarity for Participatory

Democracy (“PSPD”). They issued a release refuting various points made by Coupang about its

Sellers Terms and Conditions, including, in particular, that photographs created for advertising

purposes can be protected by law under South Korea’s Copyright Act, contrary to Coupang’s

assertions.

       13.     On this news, Coupang’s stock price dropped from $38.93 to close at $37.07 on

May 10, 2021, representing a decline of almost 4.8%.

       14.     On June 17, 2021, a fire broke out at one of Coupang’s largest fulfillment centers,

the Deokpyeong Facility. This was after Coupang’s February 2021 investigation revealed 277

defects with the Deokpyeong Facility’s fire safety system. Coupang’s Logistics Center chapter of

Korea’s Public Transportation Union held a press conference on June 20, 2021, where workers

stated how the facilities were always dusty, electrical devices were running all day, and the

sprinklers were turned off due to frequent malfunctions.

       15.     Beginning on June 22, 2021, and continuing for several days thereafter, news

reports revealed that Coupang was facing a growing consumer boycott, with users deleting their

Coupang accounts and encouraging others to do so, in response to details about the fire safety

failings at the Deokpyeong Facility. The boycott reached its peak on June 25, 2021.

       16.     On this news, Coupang’s stock price declined $2.62, or 6.55%, from the close of

trading on June 22, 2021, to the close of trading on June 25, 2021.

       17.     On July 4, 2021, news broke that the KFTC was investigating Coupang for

manipulating its search algorithm to favor its high-margin PB products.

       18.     On this news, Coupang’s stock price dropped $0.51 per share, or 1.3%, to close at

$39.95 per share on July 6, 2021, the next trading day. On July 14, 2021, Deutsche Bank



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downgraded Coupang from “buy” to “hold.” Among other things, Deutsche Bank pointed out that

“Coupang is being probed over allegations it manipulated search algorithms to prioritize its own

products over those of suppliers.”

          19.   Meanwhile, the damage caused to Coupang and its business by the June 2021 fire

at the Deokpyeong Facility was still being revealed. In its second quarter 2021 earnings release,

published after the market closed on August 11, 2021, Coupang reported a $518.6 million loss

for the quarter, which it attributed primarily to almost $300 million in inventory and equipment

losses due to the fire at the Deokpyeong Facility.

          20.   On this news, Coupang’s stock price dropped $3.07 per share, or 8.3%, to close at

$34.13 per share on August 12, 2021. Securities analysts specifically attributed the Company’s

quarterly loss due to the fire at the Deokpyeong Facility. For example, Deutsche Bank Research

reported on August 12, 2021, that the “296m of the drop was due to its warehouse fire, which

impacted inventory and fixed assets.” Samsung Securities also noted that Coupang’s “operated

losses widened y-y [year-over-year] due to a one-off cost (related to a logistics center fire in

June).”

          21.   After the close of the market on August 18, 2021, the KFTC announced that it

fined Coupang nearly $3 million and issued the Company a corrective order for forcing hundreds

of its suppliers to raise the price of products at competing businesses or purchase products and

services from Coupang against their will to make up for margin losses caused by Coupang’s price

match system.

          22.   On this news, Coupang’s stock price dropped $1.24 per share, or 2.0%, to close at

$31.73 per share on August 19, 2021.

          23.   Before the market opened on September 10, 2021, a KFTC representative



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announced that it had received numerous complaints that Coupang manipulated its search

algorithm to improperly prioritize its own products over those of third-party sellers.

        24.     On this news, Coupang’s stock price dropped $0.27 per share, or 0.9%, to close at

$29.98 per share on September 10, 2021.

        25.     On November 12, 2021, soon after market open, Coupang held its earnings call

for the quarter ended September 30, 2021, during which Defendant Kim disclosed that higher

costs were attributable to “inefficiency” and hiring troubles caused by the June 2021 fire at the

Deokpyeong Facility.

        26.     On this news, Coupang’s stock price dropped $2.61 per share, or 8.9%, to close at

$26.58 per share on November 12, 2021. Analysts covering Coupang took note of this in their

corresponding reports. For example, UBS noted that the supply shortage during the quarter was

due to the “loss of one of [Coupang’s] largest fulfilment centre to a fire in June.” Similarly, BofA

Global research advised that Coupang’s supply issues were “exacerbated by the loss of one of

largest fulfillment centers to a fire in June.”

        27.     On March 6, 2022, the KFTC announced that it issued a corrective order to

Coupang for failing to maintain written dispute resolution policies accessible to customers on its

platform in violation of South Korea’s Electronic Commerce Act.

        28.     On this news, Coupang’s stock price declined $1.38, or 6.5%, to close at $19.72

at the close of trading on March 7, 2022. On March 9, 2022, UBS published a note in which it

observed that “Coupang shares have fallen 58% since its IPO in March 2021.” Among other

things, it attributed that drop to “regulatory risks” arising from “online platform regulations.”

        29.     After market close on March 14, 2022, PSPD announced that it reported Coupang

to the KFTC for manipulating product reviews for its PB products to ensure they receive more



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exposure in its search results and published findings supporting its claim.

        30.     On this news, Coupang’s stock price declined $0.67 to close at $15.45 on March

15, 2022, representing a decline of 4.1%.

        31.     During the Relevant Period, the Individual Defendants breached their fiduciary

duties by making and/or causing Coupang to make to the investing public, in conjunction with

the Company’s IPO, numerous false and misleading statements to the market concerning its

working conditions and the safety of its workers; its business dealings with its suppliers and

merchants; and its policies and procedures to protect customers. Specifically, the Individual

Defendants willfully or reckless made and/or caused Coupang to make false and misleading

statements that failed to disclose, inter alia, that: (1) the labor conditions for its frontline workers

continued to be unsafe; (2) Coupang maintained large fulfillment centers that failed to follow

basic fire safety measures; (3) Coupang used its position of power to coerce hundreds of suppliers

to raise the price of their goods on competing sites or to purchase advertising from Coupang

against their will to protect Coupang’s profit margins on those goods when they eroded or were

lost; (4) Coupang misappropriated protected trade content from its merchants to maximize the

commissions it earned on third-party sales; (5) Coupang manipulated its search algorithm,

favoring high-margin PB products to the detriment of suppliers and merchants with similar

products; and (6) Coupang failed to reveal to merchants and customers they were under

investigation by the KFTC prior to its IPO. As a result of the foregoing, the Individual

Defendants’ statements about the Company’s business, operations, and prospects were materially

false and misleading and lacked a reasonable basis at all relevant times.

        32.     The Individual Defendants failed to correct and caused the Company to fail to

correct these false and misleading statements and omissions of material fact, rendering them



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personally liable to the Company for breaching their fiduciary duties.

        33.     The Individual Defendants’ misconduct has subjected the Company, its Chief

Executive Officer (“CEO”), and its Chief Financial Officer (‘CFO”) to be named as defendants

in federal securities fraud class action lawsuit pending in the United States District Court for the

Southern District of New York (the “Securities Class Action”) which asserts violations of

Sections 11, 12(a)(2), and 15 of the Securities Act and violations of Sections 10(b) and 20(a) of

the Exchange Act. The Individual Defendants’ misconduct further subjected the Company to

spend, and continue to spend, large sums of money for internal investigations, the implementation

of adequate internal controls, and losses due to the unjust enrichment of Individual Defendants

who were breaching their fiduciary duties.

        34.     Therefore, the Individual Defendants’ have substantially damaged Coupang by

their breaches of fiduciary duty and other misconduct.

        35.     The Individual Defendants are currently directors and/or officers at Coupang. In

light of the Individual Defendants’ breaches of fiduciary duties, and their collective engagement

in fraud, as well as the substantial likelihood of the liability in this action and certain Defendants’

liability in the Securities Class Action, the Individual Defendants are not disinterested and/or

independent and thus, a majority of Coupang’s Board of Directors (the “Board”) cannot

independently and disinterestedly consider a demand to commence litigation against themselves,

the other Individual Defendants, and any other wrongdoers on Coupang’s behalf.

                                 JURISDICTION AND VENUE

        36.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 10(b) of the Exchange Act, 15. U.S.C.

§ 78j(b) and Rule 10b-5, 17 C.F.R. § 240.10b-5, Section 21D of the Exchange Act, 15 U.S.C. §



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78u-4(f), and Section 11(f) of the Securities Act, 15 U.S.C. § 77k(f)(1).

       37.      Plaintiff’s claims also raise a federal question concerning the claims in the

Securities Class Action based on violations of the Securities Act and Exchange Act.

       38.      This Court has supplemental jurisdiction over Plaintiff’s state law claims per 28

U.S.C. § 1367(a).

       39.      This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       40.      Venue is proper in this District because the alleged misstatements and wrongs

complained of herein entered this District, Defendants have conducted business in this District,

and Defendants’ actions have had an effect in this District.

                                                 PARTIES

Plaintiff

       41.      Plaintiff is a current shareholder of Coupang. Plaintiff has continuously held

Coupang common stock at all relevant times.

Defendants

       42.      Nominal Defendant Coupang is a Delaware corporation with its principal

executive offices at 720 Olive Way, Suite 600, Seattle, Washington 98101. Coupang’s shares

trade on the New York Stock Exchange (“NYSE”) under the ticker symbol “CPNG.”

       43.      Defendant Kim has been the CEO and Chairman of the Board of the Company

since May 2010. Kim signed the IPO Registration Statement in his own capacity and on behalf of

Coupang and signed a registration statement filed by Coupang on March 18, 2021 on Form S-8

(the “S-8 Registration Statement” and with the IPO Registration Statement, the “Registration

Statements”)). Defendant Kim beneficially held approximately 76% of the voting power over



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Coupang following the IPO due to his ownership of Class B common stock. Kim is a defendant in

the Securities Class Action.

       44.      Defendant Anand has been the CFO of the Company since December 2020. Prior

to his role as CFO, Anand served as Coupang’s Chief Operating Officer from January 2019 to

December 2020, the Chief of Staff to Coupang’s CEO from January 2017 to December 2018, and

as CFO of Global eCommerce for Coupang from January 2017 to December 2017. Anand signed

the IPO Registration Statement and signed the S-8 Registration Statement in his own capacity and

on behalf of Coupang. Defendant Anand sold 160,000 shares of Coupang on August 16, 2021, for

$5,332,800, and sold 350,000 shares on December 14, 2021, for $9,576,000, for total proceeds of

$14,908,800, when he was in possession of negative material non-public information. The timing

and size of these two sales by Anand are suspicious and unusual in that he has never made any

other stock sales. The sale on August 16, 2021, was purportedly made to satisfy tax obligations

incurred upon the settlement of restricted stock units (“RSUs”) that vested, and the sale on

December 14, 2021, was purportedly made to satisfy exercise costs and tax obligations incurred

with the exercise of certain stock options held by Anand. Anand is a defendant in the Securities

Class Action.

       45.      Defendant Mehta is a Company director and is the Chair of the Compensation

Committee and a member of the Nominating and Corporate Governance Committee. He was a

director at the time of the IPO. Mehta signed the IPO Registration Statement and the S-8

Registration Statement. Mehta is a defendant in the Securities Class Action.

       46.      Defendant Sun is a Company director and is a member of the Audit and

Nominating and Corporate Governance Committee. He was a director at the time of the IPO. Sun

signed the IPO Registration Statement and the S-8 Registration Statement. Sun is a defendant in



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the Securities Class action.

          47.   Defendant Parker was Coupang’s Chief Accounting Officer from October 2019 to

September 2022. Since September 2022, Parker has served as Coupang’s Vice President, Investor

Relations. Parker signed the IPO Registration Statement and the S-8 Registration Statement.

Parker is a defendant in the Securities Class Action.

          48.   Defendant Christensen was a director on Coupang’s Board at the time of the IPO

until he resigned, effective immediately, on June 7, 2021. Christensen signed the IPO Registration

Statement and the S-8 Registration Statement. Christensen is a defendant in the Securities Class

Action.

          49.   Defendant Jett was a director on Coupang’s Board at the time of the IPO until she

resigned, effective immediately, on October 26, 2021. Jett signed the IPO Registration Statement

and the S-8 Registration Statement. Jett is a defendant in the Securities Class Action.

          50.   Defendant You was a director on Coupang’s Board at the time of the IPO. You

signed the IPO Registration Statement and the S-8 Registration Statement. You is a defendant in

the Securities Class Action.

          51.   Defendant Warsh is a Company director and is the Chair of the Nominating and

Corporate Governance Committee and a member of the Compensation Committee. He was a

director at the time of the IPO. Sun signed the IPO Registration Statement and the S-8 Registration

Statement. Warsh is a defendant in the Securities Class Action.

                FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

          52.   By reason of their positions as officers and/or directors of Coupang, and because

of their ability to control the business and corporate affairs of Coupang, the Individual Defendants

owed Coupang and its shareholders fiduciary obligations of trust, loyalty, good faith, and due

care, and were and are required to use their utmost ability to control and manage Coupang in a

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fair, just, honest, and equitable manner. The Individual Defendants were and are required to act

in furtherance of the best interests of Coupang and its shareholders so as to benefit all shareholders

equally.

       53.     Each director and officer of the Company owes to Coupang and its shareholders

the fiduciary duty to exercise good faith and diligence in the administration of the Company and

in the use and preservation of its property and assets and the highest obligations of fair dealing.

       54.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Coupang, were able to and did, directly or indirectly, exercise control

over the wrongful acts complained of herein.

       55.     To discharge their duties, the officers and directors of Coupang were required to

exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       56.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

faith, and the exercise of due care and diligence in the management and administration of the

affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and officers of Coupang, the absence of good faith on

their part, or a reckless disregard for their duties to the Company and its shareholders that the

Individual Defendants were aware of or should have been aware of posed a risk of serious injury

to the Company.

       57.     As senior executive officers and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and Securities Act and



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traded on the NYSE, the Individual Defendants had a duty to prevent and not to effect the

dissemination of inaccurate and untruthful information with respect to the Company’s financial

condition, performance, growth, operations, financial statements, business, products,

management, earnings, internal controls, and present and future business prospects, including the

dissemination of false information regarding the Company’s business, prospects, and operations,

and had a duty to cause the Company to disclose in its regulatory filings with the SEC all those

facts described in this Complaint that it failed to disclose, so that the market price of the

Company’s common stock would be based upon truthful and accurate information.

       58.     To discharge their duties, the officers and directors of Coupang were required to

exercise reasonable and prudent supervision over the management, policies, practices, and

internal controls of the Company. By virtue of such duties, the officers and directors of Coupang

were required to, among other things:

       a.      ensure that the Company was operated in a diligent, honest, and prudent

               manner in accordance with the laws and regulations of Delaware,

               Washington, and the United States, and pursuant to Coupang’s Code of

               Business Conduct & Ethics (the “Code of Ethics”);

       b.      conduct the affairs of the Company in an efficient, business-like manner so

               as to make it possible to provide the highest quality performance of its

               business, to avoid wasting the Company’s assets, and to maximize the value

               of the Company’s stock;

       c.      remain informed as to how Coupang conducted its operations, and, upon

               receipt of notice or information of imprudent or unsound conditions or

               practices, to make reasonable inquiry in connection therewith, and to take



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                steps to correct such conditions or practices;

       d.       establish and maintain systematic and accurate records and reports of the

                business and internal affairs of Coupang and procedures for the reporting of

                the business and internal affairs to the Board and to periodically investigate,

                or cause independent investigation to be made of, said reports and records;

       e.       maintain and implement an adequate and functioning system of internal

                legal, financial, and management controls, such that Coupang’s operations

                would comply with all applicable laws and Coupang’s financial statements

                and regulatory filings filed with the SEC and disseminated to the public and

                the Company’s shareholders would be accurate;

       f.       exercise reasonable control and supervision over the public statements made

                by the Company’s officers and employees and any other reports or

                information that the Company was required by law to disseminate;

       g.       refrain from unduly benefiting themselves and other Company insiders at the

                expense of the Company; and

       h.       examine and evaluate any reports of examinations, audits, or other financial

                information concerning the financial affairs of the Company and to make full

                and accurate disclosure of all material facts concerning, inter alia, each of

                the subjects and duties set forth above.

       59.      Each of the Individual Defendants further owed to Coupang and the shareholders

the duty of loyalty requiring that each favor Coupang’s interest and that of its shareholders over

their own while conducting the affairs of the Company and refrain from using their position,

influence or knowledge of the affairs of the Company to gain personal advantage.



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       60.     At all times relevant hereto, the Individual Defendants were the agents of each

other and of Coupang and were at all times acting within the course and scope of such agency.

       61.     Because of their advisory, executive, managerial, and directorial positions with

Coupang, each of the Individual Defendants had access to adverse, non-public information about

the Company.

       62.     The Individual Defendants, because of their positions of control and authority,

were able to and did, directly or indirectly, exercise control over the wrongful acts complained of

herein, as well as the contents of the various public statements issued by Coupang.

                              COUPANG’S CODE OF ETHICS

       63.     The Company’s Code of Ethics states that “Coupang is committed to conducting

business in an ethical, transparent, and professional manner, and in compliance with laws,

regulations, and our policies. As representatives of Coupang, we expect all employees to be

decisive and to take ownership for their actions. The decisions employees make must be honest

and ethical. This commitment applies to our relationships with each other and with our customers,

suppliers, and other third parties.” The Code of Ethics also states its purpose is “to provide

directors, officers, and employees with guiding principles and minimum standards for making

honest and ethical decisions in their work. It applies to me, our directors and officers, and all

employees at every level of our organization. Complying with the law and these principles and

standards is not only a legal requirement; it is an ethical obligation for everyone at Coupang.”

       64.     The Code of Ethics further states that it applies to all officers, directors, and

employees, stating in part:

       All officers and employees (including regular as well as part-time employees, fixed
       term, and any other types of workers hired by Coupang) at all levels of the
       organization worldwide and all members of the board of directors of Coupang, Inc.
       Any waiver of this Code for officers or directors may be made only by the board of
       directors or Audit Committee of Coupang, Inc. and will be disclosed to

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       stockholders as required by applicable laws, rules, and regulations.

       65.     In a section titled, “Responsibilities for Employees & Managers,” the Code of

Ethics states the following:

       With the assistance of the Compliance department, implement and monitor
       appropriate business processes. Conduct periodic compliance reviews to ensure
       ongoing effectiveness of business processes.

                                      *      *      *
       Disciplinary action: Employees and managers who do not fulfill their compliance
       responsibilities as required by this Code and Coupang’s policies, or laws and
       regulations, will face disciplinary action up to and including termination of their
       employment, and in appropriate cases, possible civil legal action, or referral for
       criminal prosecution.

       66.     In a section titled, “Compliance with Laws, Rules and Regulations,” the Code of

Ethics states the following, in relevant part:

       Coupang is committed to:
           Conducting business in an ethical, transparent, and professional manner,
             and in compliance with laws, regulations, and our policies.
           Incorporating legal and regulatory requirements into our business strategy
             and processes.
           Developing strong processes to anticipate risks, including new and
             changing legal and regulatory requirements.
           Providing employees and managers with access to the subject matter
             expertise needed to manage legal and regulatory risks.
           Monitoring regulatory compliance on an ongoing basis and periodically
             reviewing key processes.
           Remaining compliant with applicable licensing, permitting and other
             applicable rules and regulations in the locations where we operate.

       67.     In violation of the Code of Ethics, the Individual Defendants conducted little, if

any, oversight of the Company’s engagement in the Individual Defendants’ scheme to issue

materially false and misleading statements to the public and to facilitate and disguise the

Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,

and violations of the Exchange Act and Securities Act. Also in violation of the Code of Ethics,

the Individual Defendants failed to maintain the accuracy of Company records and reports,


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comply with laws and regulations, conduct business in an honest and ethical manner, and properly

report violations of the Code of Ethics.

                    THE INDIVIDUAL DEFENDANTS’ MISCONDUCT

Background

       68.     Defendant Coupang is an e-commerce business incorporated in Delaware and

headquartered in Seattle, Washington. Coupang operates an online marketplace and an extensive

logistics network that can source and deliver a vast array of products from produce to high-end

electronics. As of its IPO in March 2021, Coupang offered a variety of goods, including items

sourced from third-party merchants and suppliers, as well as its own PB products. Coupang

purports to deliver 365 days a year, with guaranteed one day deliveries for many of the items it

offers on its online marketplace

       69.     Founded in Delaware on May 28, 2010, by Defendant Kim as Forward Ventures

LLC, the Company started as a coupon-based e-commerce platform which operated under the

trade name Coupang where users could purchase tickets for theaters or travel at discounted prices,

similar to the business model of Groupon. In fact, the name Coupang is a portmanteau of the

words “coupon” and “pang,” the sound often used in Korean to signify hitting a jackpot. It soon

expanded to include an eBay-inspired online marketplace comprised of third-party goods.

       70.     Thereafter, Defendant Kim decided to transform Coupang from a Groupon-style

business into a vertically integrated e-commerce platform like Amazon. At the time, other e-

commerce platforms in South Korea lacked fulfillment capacity and relied on merchants to deliver

items to consumers via third-party shipping services. But relying on third-party merchants and

their preferred shipping companies created unique challenges for these e-commerce operators.

Not only did they lack control over product storage conditions and fulfillment lead times, but the



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so-called “last mile” of the delivery process—the stretch between the final distribution hub and

the customer’s doorstep—was notoriously expensive and unreliable. Defendant Kim sought to

remedy that flaw by purchasing goods directly from suppliers for resale on Coupang’s

marketplace and building an end-to-end distribution network that could quickly source and

deliver nearly any item a customer wanted with the click of a button. Kim bluntly told Forbes in

2014 that “[w]e want to be the Amazon of Korea.

       71.    In 2013, Coupang started selling an owned-inventory selection of items. It also

acquired the data-analytics company CalmSea and began using machine learning to cut down

delivery times. Like Amazon, Coupang analyzed purchasing patterns to inform inventory

decisions and position stock in its warehouses based on demand rather than product category.

       72.    To further reduce delivery times, Coupang began hiring a small fleet of its very

own full-time delivery drivers and, in March 2014, launched its “Rocket Delivery” service, which

guaranteed next-day delivery free of charge on qualifying items. This immediately set Coupang

apart from other e-commerce platforms in South Korea and has since become intimately

associated with its brand. The Company’s deliverymen, known as “Coupang Men,” served as the

ambassadors of its new business.

       73.    South Korea provided a fertile venue for Coupang’s new business platform. With

over 60% of the country covered in mountains and the highest mobile phone penetration rate

anywhere in the world, South Korea contains a series of densely populated urban areas with a

tech-savvy, highly connected population base. In fact, nearly half of the country’s population

resides in the area surrounding Seoul, South Korea’s capital city, making it the fifth largest

metropolitan area in the world. And in a country that promotes speed and convenience, South

Korea is home to one of the largest and fastest-growing e-commerce markets in the world.



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       74.     In approximately September 2015, Coupang expanded its website and app to

include a “marketplace” for third-party businesses to sell their goods directly to customers. This

opened Coupang’s platform to small and medium-sized merchants who lacked the resources

and/or infrastructure to engage in wholesale transactions and broadened Coupang’s product mix.

       75.     After transitioning its e-commerce platform into the brokerage of third-party

items, in 2016, Coupang changed its name from Forward Ventures, LLC to Coupang, LLC.

       76.     As its business grew, Coupang began to offer new services and products. In 2017,

Coupang started selling its own PB products. In 2018, it introduced Dawn Delivery, which

guaranteed delivery by 7 a.m. on orders placed by midnight on the previous day.

       77.     In 2019, Coupang launched Rocket WOW and Coupang Eats. Similar to Amazon

Prime, Rocket WOW is a subscription-based loyalty program that purportedly offers various

benefits to members for a flat monthly fee, including free shipping with no minimum spend.

Rocket WOW soon expanded to include Rocket Fresh, a fresh food grocery delivery service.

Similar to Uber Eats, Coupang Eats is a delivery service for food prepared by independent

restaurants. Both Rocket Fresh and Coupang Eats leveraged the vast logistics network that

Coupang built for its Rocket Delivery service.

       78.     After the COVID-19 pandemic swept across South Korea in 2020, homebound

consumers flocked to online shopping in unprecedented numbers and Coupang’s growth soared.

During 2020, Coupang’s active customers—those who placed at least one order with Coupang

during the Relevant Period—increased by 18.2%, but net retail sales per active customer grew by

61.5%. Coupang’s annual revenue reached almost $12 billion, representing a 90% increase from

pre-pandemic levels in 2019.

       79.     As Coupang’s business grew, so too did its labor and logistics resources. By the



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end of 2020, it employed nearly 50,000 workers in South Korea. In addition, as of December 31,

2020, Coupang operated over 100 fulfillment and logistics centers in over 30 cities across South

Korea, encompassing over 25 million square feet or the equivalent of 400 football fields. Coupang

boasted that this network was so extensive that 70% of South Korea’s 51 million residents lived

within 7 miles of a Coupang logistics facility.

       80.     But building an expansive comprehensive logistics network required an

astounding investment in infrastructure and human capital. Coupang claims that, since 2013, it

has invested “billions” of dollars into its logistics network and the technology behind it. In

addition, its labor costs have increased approximately fourteenfold since 2014.

       81.     In addition, Coupang’s huge investment in its logistics network, and new

initiatives, have prevented it from turning a profit for many years. Coupang has not generated a

profit since at least 2014, the year it introduced its Rocket Delivery service. Even though Coupang

has experienced revenue growth every year since 2014, it has consistently operated at a net loss.

For example, Coupang reported net losses of $1.1 billion, $699 million, and $475 million in 2018,

2019, and 2020, respectively, even though it reported total net revenue in excess of $4 billion,

$6.2 billion, and $11.9 billion in each of those periods.

       82.     To capitalize on its explosive growth, Coupang decided to commence an IPO in

the United States. On February 12, 2021, Coupang publicly filed with the SEC a registration

statement on Form S-1 (File No. 333-253030) containing a preliminary prospectus relating to the

potential IPO of up to 120,000,000 shares of Class A common stock of a new entity by the name

of Coupang, Inc. It filed amendments thereto on March 1, 2021, and March 9, 2021, respectively.

The IPO Registration Statement became effective on March 11, 2021.

       83.     On March 11, 2021, Coupang filed the final Prospectus for the IPO pursuant to



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Rule 424(b)(4), deemed to be part of the IPO Registration Statement in accordance with Rule

430A of the Securities Act, which provided final pricing information for the IPO.

       84.     Coupang conducted its IPO between March 11, 2021, and March 15, 2021.

Through the IPO Registration Statement, 130,000,000 shares of Coupang Class A common stock

was sold to the investing public at $35 per share, making it the largest IPO on Wall Street since

Alibaba Group Holding Limited’s debut in 2014. This valued Coupang at over $60 billion.

Coupang’s share price soared 80% to open at $63.50 on March 11, 2011.

       85.     Coupang generated net proceeds of approximately $3.4 billion from its sale of its

100,000,000 shares of Class A common stock. Defendant Kim sold 1,200,000 shares of his own

Class A common stock for $42 million.

       86.     Throughout the Relevant Period, Coupang maintained an online newsroom page

entitled “FACTS,” which was singularly dedicated to denying any rumors of wrongdoing. For

example, in response to an article by the Financial Times “Coupang’s New York listing clouded

by worker deaths,” Coupang posted a statement to its newsroom in April 2021 insisting that

“Coupang pays great attention to the health and welfare of all employees” and deflected

responsibility by claiming that “cardiac and cerebrovascular disorders . . . are the 2nd and 4th

leading causes of death in Korea.” And after civic groups revealed that Coupang was

misappropriating copyrighted images from small third-party businesses to support its system

which uses a single image to represent the same product offered by numerous merchants and

selects a winner from the group, (the “Item Winner system”), Coupang issued a statement to its

newsroom, declaring that “Coupang’s Item Winner (one product, one page system) is an

improved service that allows . . . sellers [to] compete fairly” and “the claim that Coupang infringes

on the copyrights of sellers’ images is not true at all.”



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       87.     Before Coupang filed a certificate of conversion with the Secretary of State of

Delaware converting from Coupang, LLC into Coupang, Inc., (the “Corporate Conversion”)

Coupang, LLC had issued equity interests to various parties, including employees and early

investors, in the form of common units and preferred units. In connection with the Corporate

Conversion, all common and preferred units automatically converted into Class A common stock,

except for those owned by Defendant Kim. All of Defendant Kim’s common units and preferred

units instead converted into Class B common stock. The rights of the holders of Class A common

stock and Class B common stock are identical, except with respect to voting and conversion. Each

share of Class A common stock is entitled to one vote per share, whereas each share of Class B

common stock is entitled to twenty-nine votes per share and is convertible into one share of Class

A common stock at any time at the option of the holder or automatically upon transfer except in

limited circumstances.

       88.     As of the close of the IPO, there were a total of approximately 1,555,059,600

shares of Class A common stock outstanding and 174,802,990 shares of Class B common stock

outstanding. And as the sole owner of all Class B common shares, Defendant Kim, possessed

over 76% of the combined voting power over the Company. As such, Coupang warned that this

“will limit or preclude your ability to influence corporate matters for the foreseeable future.”

       89.     Notably, however, only the 130,000,000 shares of Class A common stock sold in

the IPO were freely tradeable without restriction following the close of the IPO. All other shares

of Class A common stock not sold in the IPO and all shares of Class B common stock owned by

Defendant Kim were “restricted securities” within the meaning of Rule 144 of the Securities Act,

meaning they cannot be sold publicly unless they are registered under the Securities Act or qualify

for an exemption from registration under Rule 144 or Rule 701 of the Securities Act.



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       90.     In addition, the IPO Registration Statement specifically represented that “all” of

the restricted shares not sold in the IPO were subject to one or more lock up agreements which

prohibited their sale until August 13, 2021 (the “Lock-Up Period”), unless the conditions for an

early release from the Lock-Up Period were satisfied. There were a series of at least six early

releases from the Lock-Up Period beginning six trading days after the date of the Prospectus.

       91.     After the close of trading on March 15, 2021, Coupang announced that the

conditions for the first early release from the Lock-Up Period were satisfied. By satisfying the

conditions for the first early release, the Lock-Up Period ended with respect to all outstanding

shares of the Company acquired by certain employees pursuant to the exercise of options awarded

under Coupang’s pre-IPO employee incentive plan, and held as of February 26, 2021, making

those shares of Class A common stock (as converted) eligible for sale in the market on March 18,

2021, the next trading day, subject to compliance with Rule 144 of the Securities Act.

       92.     Before the market opened on March 18, 2021, Coupang filed the S-8 Registration

Statement containing a reoffer prospectus relating to 29,700,836 shares of Class A common stock

that were subject to the first early release from the Lock-Up Period on behalf of 2,103 individuals,

which became effective immediately upon filing. The registration of these shares permitted their

resale on the secondary market without violating Rule 144 of the Securities Act. The S-8

Registration Statement was signed by Coupang and the Individual Defendants.

       93.     Coupang was obligated to publicly announce whether any of the early releases

from the Lock-Up Period were satisfied as promptly as practicable before the release became

effective. It made no such announcements other than the one on March 15, 2021.




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                                 SUBSTANTIVE ALLEGATIONS

The IPO Registration Statement

        94.        On March 11, 2021, Coupang filed the Prospectus deemed to be part of its IPO

Registration Statement, and shares of its Class A common stock began trading on the NYSE. The

IPO Registration Statement was negligently prepared and, as a result, contained untrue statements

of material fact, omitted material facts necessary to make the statements contained therein not

misleading, and otherwise failed to make necessary disclosures required under the rules and

regulations governing its preparation.

        95.        The IPO Registration Statement described Coupang’s relationship with its workers

as positive, stating in part:

                   Founded in 2010, we are a home-grown technology company that has now
                   become one of the three largest private sector employers in the nation. We
                   are a significant driver of new economic opportunities for the people of
                   Korea. As of December 31, 2020, we directly employed over 50,000
                   employees globally. We consider our employee relations to be positive.

(Emphasis added).

        96.        The IPO Registration Statement contained a letter to investors from Defendant

Kim. The letter to investors discussed the Company’s vison for its customers and employees,

stating in part:

                   We believe it is both our opportunity and responsibility to challenge
                   expectations about important social issues in our community. In a market
                   where the industry standard is a six-day workweek, we were the first to
                   establish a five-day workweek for our drivers, even as we became the first
                   major service to provide deliveries to customers seven days a week. We
                   also hire our drivers, Coupang Friends, directly, and provide them with
                   paid time off and full benefits . . . . We hope such examples demonstrate
                   that innovation can unlock both a better world for our customers and a
                   better workplace for our employees.

(Emphasis added).



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       97.     Further, Defendant Kim’s letter to shareholders also addressed the supplier and

merchants using Coupang’s platform, stating in part:

               We also support hundreds of thousands of suppliers and merchants
               who earn their living on Coupang . . . . Even during an unprecedented
               pandemic, as small businesses in the country suffered net losses, small
               businesses on Coupang saw their sales increase by over 50% through direct
               access to our services and customers nationwide.

(Emphasis added).

       98.     The IPO Registration Statement represented that Coupang “offered” its business

partners advertising opportunities: “In addition to our e-commerce services, we also have a new

offering in the online advertising space. We offer opportunities to advertise on our websites

and mobile applications, including through banner advertisements, joint promotions, and other

programs.” (Emphasis added).

       99.     The IPO Registration Statement also stated that “[t]he Company receives

consideration from suppliers for various programs, including rebates, incentives, and

discounts, as well as advertising services provided on its website and mobile applications.”

(Emphasis added).

       100.    In the IPO Registration Statement, Coupang represented that it offered customers

the “lowest prices” available in South Korea:

              In addition to superior experience, we believe we also offer customers the
              lowest prices for our owned inventory selection.

                                           ***

              Our strategy is to provide the lowest prices available in the Korean
              market across a wide and diverse assortment of items.

(Emphasis added).

       101.    The IPO Registration Statement also explained that Coupang was able to secure

favorable pricing for customers due to its supplier relationships, stating in part:

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               We have established an extensive network of suppliers and merchants,
               which enables us to obtain a wide selection of merchandise while
               maintaining low prices for customers. We offer millions of SKUs under
               our owned-inventory selection, which requires significant procurement
               expertise from local and international suppliers. We also source a large
               proportion of merchandise directly from manufacturers, which can
               result in better pricing for our customers.

 (Emphasis added).

       102.    The IPO Registration Statement also explained the benefits of Coupang’s structure

for customers, stating in part:

               Our structural advantages from complete end-to-end integration,
               investments in technology, and scale economies generate higher
               efficiencies that allow us to pass savings to customers in the form of lower
               prices. We also source a large portion of merchandise directly from
               manufacturers, which can contribute to better pricing for our customers.
                                                    ***

               In addition, cost efficiencies that we drive across our operations and
               economies generated from scale enable us to pass these savings on to
               our customers in the form of lower prices.

 (Emphasis added).

       103.    The IPO Registration Statement went on to explain the reasons behind the net retail

sales increase in 2019 and 2020, stating in part:

               Net retail sales for the year ended December 31, 2020 increased $5,258.0
               million, or 90.9% (93.2% on a constant currency basis), as compared to the
               year ended December 31, 2019. The increase was primarily due to a
               18.2% growth in our Active Customers in 2020, as well as 61.5%
               growth (63.5% on a constant currency basis) in our net retail sales per
               Active Customer during that same period, driven by a continual
               increase in product selection and additional offerings provided to our
               customers.
                                                   ***

               Net retail sales for the year ended December 31, 2019 increased $1,988.0
               million, or 52.3% (61.4% on a constant currency basis), as compared to the
               year ended December 31, 2018. The increase was primarily due to a
               34.3% growth in our Active Customers in 2019, as well as 13.4%
               growth (20.1% on a constant currency basis) in our net retail sales per


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                   Active Customer during that same period, driven by a general increase
                   in product selection, in-stock availability, and offerings provided to
                   our customers.

 (Emphasis added).

        104.       The IPO Registration Statement continued to explain its increase in net revenue,

stating in part:

                   While we are focused on increasing our owned-inventory selection in these
                   categories, we also expect to increase the number of merchants offering
                   items in these categories in our marketplace. . . . Our success in increasing
                   selection, including expansion into new categories, has contributed to
                   the increase in total net revenues in 2020, which was up 93.1% on a
                   constant currency basis over 2019.

 (Emphasis added).

         105. In the IPO Registration Statement, Coupang also represented that it provides its

customers with personalized product promotions and recommendations, stating in part:

             We have developed technology that enables us to increase our operating
             efficiency through enhanced product merchandising and supply chain
             management, and to provide our customers with personalized product
             promotions and recommendations.
 (Emphasis added).

        106.       The IPO Registration Statement continued to explain the ease of its search

technology, stating in part:

                   Our search technology produces a simplified experience that
                   overcomes the lack of standardization and duplicate listings by leveraging
                   our product knowledge graph to show more unique products in search
                   results, helping customers find, compare, and make purchasing
                   decisions easily.

                                                         ***

                   The foundation of our search and recommendations is a product knowledge
                   graph that organizes by product, not by seller, which enhances the
                   customer experience. Search and recommendation results are aided by
                   deep learning, data analytics, and image recognition among other inputs to
                   produce greater relevance and personalization. As a result, we believe


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            customers can identify what they want and the best value for that
            product easier through our tools than those on competitive services
            that require customers to sort through multiple sellers to compare offers
            for a given product.
(Emphasis added).

       107.    In the IPO Registration Statement, Coupang also represented that it helps third-

party merchants to improve and grow their business, stating in part:

                    [W]e focus on innovations around our end-to-end integrated network of
                    technology and infrastructure, new offerings, and effective merchant
                    solutions. These investments help us deliver superior selection,
                    convenience, and low prices to customers while helping merchants to
                    improve and grow their businesses.
(Emphasis added).

       108.    Similarly, Coupang stated that its matching technology helps third-party

merchants enhance demand generation and compete holistically, stating in part:

                    We offer merchants of all sizes effective solutions to improve their
                    customer experience and enhance demand generation. Our
                    customer-to-product matching technology ingests millions of new
                    merchant listings daily into our product knowledge graph, and,
                    leveraging machine learning, provides personalized product
                    exposure to customers based on relevance and predicted customer
                    experience. This technology helps merchants compete holistically
                    on overall customer experience.

                                              ***

                    Our matching technology ingests millions of new merchant listings
                    daily into a product knowledge graph, and, leveraging machine
                    learning, provides product exposure to customers based on
                    relevance and predicted customer experience, among other variables.
                    This helps high-quality merchants compete holistically on overall
                    customer experience. This results in lowering barriers to entry for
                    merchants, and improving experience for customers, which
                    encourages repeat purchasing that generates higher sales for
                    merchants.

(Emphasis added).

       109.    The IPO Registration Statement also informed investors that Coupang uses a



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system that rewards merchants for providing competitive prices, stating in part:



                     Our strategy is to provide the lowest prices available in the Korean
                     market across a wide and diverse assortment of items. We achieve this
                     through our diversified procurement strategy, which involves scaled
                     procurement from local and international suppliers, direct sourcing from
                     manufacturers, and our creation of a system that rewards merchants
                     for providing competitive prices.

(Emphasis added).

          110.   In the IPO Registration Statement, Coupang also stated “we have policies and

procedures to protect both merchants and customers on our marketplace.” (Emphasis

added).

          111.   In the IPO Registration Statement, Coupang also represented that its positive

company culture, focusing on its customer centricity, stating in part:

                     Since 2013, we have invested billions of dollars to build our owned-
                     inventory selection, proprietary technology, and the largest B2C
                     logistics footprint as compared to other product e-commerce players in
                     Korea. . . . Those investments have been guided by our operating
                     principles of putting customers at the center of everything we do . .
                     . . In our view, our culture of customer centricity is our most
                     important asset, and it drives us to relentlessly pursue operational
                     excellence and innovation.

                                                          ***

                     We are committed to delivering a “wow” experience to all of our
                     customers every day. This commitment drives every aspect of our
                     operations and pushes us to redefine the standards of e-commerce.

(Emphasis added).

March 11, 2021 Bloomberg Markets Interview

          112.   On March 11, 2021, Defendant Kim appeared for an interview on Bloomberg

Markets in connection with its IPO. The host noted that “you’ve had had several deaths among



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delivery and logistics employees who are allegedly overworked, overnight working,” and asked

“how does the company answer to this issue?” Defendant Kim responded as follows:

               You know it’s heartbreaking, it’s a tragedy whenever there’s a passing of
               one of our family members, but here’s the important context: we have
               hundreds of thousands of people who work in our operation and the
               fulfillment and delivery, and we’ve had one work-related death in the past
               year. But one is too many, and we have to continue to do better. We are
               actually leading the industry on this front . . . . .

(Emphasis added).

       113.    Later during the same interview, the host asked, “I wonder after reports of more

than one—several—deaths of your employees what can you do to improve the situation?” In

response, Defendant Kim stated:

           As I mentioned, we have to continue to change and make the standards better.
           We are raising the bar and will continue to invest. We have invested hundreds
           of millions of dollars in automation that makes the deliveries not only a
           better experience for our customers but the work easier for our employees
           and we are, we will continue, to create good jobs, the best working condition
           jobs in the country.

(Emphasis added).

The S-8 Registration Statement

       114.    On March 18, 2021, Coupang filed the S-8 Registration Statement. The S-8

Registration Statement expressly incorporated the IPO Registration Statement and the Prospectus,

as well as “[a]ll documents filed by [Coupang] pursuant to Sections 13(a), 13(c), 14 and 15(d) of

the Exchange Act on or after the date of this Registration Statement and prior to the filing of a

post-effective amendment to this Registration Statement that indicates that all securities offered

have been sold or that deregisters all securities then remaining unsold.”

       115.    However, soon after market open on March 24, 2021, news broke that a Coupang

employee in his early 40s died his second day on the job earlier that day next to his company-

issued car in Incheon, South Korea. As the Korea Herald commented in a report the next morning,

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“[t]he courier’s death immediately triggered speculation that he may have become the latest

delivery worker to die from apparent overwork.” After the close of trading on March 24, 2021,

media sources published an official statement from Coupang revealing that the deceased courier

was allowed to begin delivering packages even though he displayed “heart-related abnormalities”

during his initial medical examination. On this news, Coupang’s stock dropped from $46.00 on

March 23, 2021, to close at $43.70 on March 25, 2021, representing a decline of 5%.

April 3, 2021 Newsroom Statement

       116.    On or around April 3, 2021, Coupang posted on its official website the following

statements concerning its employee relations:

               Coupang pays great attention to the health and welfare of all employees,
               and has a great responsibility to protect the safety and health of its employees.
               Coupang will continue to lead the courier logistics industry by
               prioritizing the health and safety of its employees. Coupang will continue
               to make efforts to create a better working environment by considering
               the health and safety of workers as the company’s core value and first
               management principle.

(Emphasis added).

       117.    On April 4, 2021, the owner of a small business appeared on MBC’s investigative

program “Straight” and revealed how Coupang was using the trade material that he spent time

and money to create to advertise and secure sales for other merchants in its Item Market. On this

news, Coupang stock declined from $47.31 to close at $45.94 on April 5, 2021, or 2.0%

       118.    After market close on May 3, 2021, a number of civic groups announced that they

reported Coupang to the KFTC for requiring small business owners to hand over their protected

trade materials in its Seller Terms and Conditions. On this news, Coupang’s stock declined from

$42.06 to close at $41.49 on May 4, 2021, representing a drop of 1.3%.

May 4, 2021 Newsroom Statement

       119.    On or around May 4, 2021, Coupang posted a statement to its online newsroom,

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declaring that the Item Winner system allowed sellers to “fairly” compete with one another:


             Coupang’s Item Winner (one product, one page system) is an improved
             service that allows consumers to make purchasing decisions based on
             consumer experience, unlike existing open markets that focus on
             advertising cost competition. . . . Through this, sellers can compete fairly
             without the burden of advertising costs, and customers can easily find the
             best products.
(Emphasis added).

        120.    In that same release, Coupang also stated: “Many sellers have continued to grow

sales by entering the item market where they can compete fairly without advertising costs.”

(Emphasis added).

        121.    Further, Coupang also declared that its marketplace did not violate certain laws,

stating as a matter of fact:

                Item Market Sales Terms and Conditions do not violate the Fair Trade
                Act and Copyright Act. . . . The representative image of the product refers
                to the image of the product itself, which is not subject to copyright by the
                seller. Coupang clearly guides sellers to upload only product images when
                registering images, and the detail page screens that sellers individually
                upload are not shared with other sellers. Therefore, the claim that
                Coupang infringes on the copyrights of sellers’ images is not true at all.

(Emphasis added).

        122.    On May 10, 2021, PSPD issued a release refuting various points made by Coupang

about its Sellers Terms and Conditions, including, in particular, that photographs created for

advertising purposes can be protected by law under South Korea’s Copyright Act, contrary to

Coupang’s assertions. On this news, Coupang’s stock dropped from $38.93 to close at $37.07 on

May 10, 2021, representing a decline of 4.8%.

May 12, 2021 Quarterly Earnings Call

        123.    On May 12, 2021, Coupang hosted an earnings call with investors and analysts to

discuss the Company’s Q1 2021 results (the “Q1 2021 Earnings Call”). During this call,


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Defendant Kim stated: “[T]he most important competitive advantage that Coupang has is really

our orientation. We’ve made—we’ve always worked backwards from the customer.”

          124.   During the same earnings call, Defendant Anand stated as follows in response to

a question about the “mix” of owned inventory, or 1P, versus third-party, or 3P, sales:

                 [O]n your second question of 1P versus 3P mix change, we continue to see
                 strong growth in both 1P and 3P and there is no material change and mix at
                 this time. So, we are focused on both the services and continue to drive
                 initiatives in each of them. However, over time, we would become
                 agnostic between our owned inventory and third-party selection.

(Emphasis added).

First Quarter 2021 Form 10-Q

          125.   On May 13, 2021, Coupang filed with the SEC a quarterly report on Form 10-Q

for the period ended March 31, 2021 (the “1Q 2021 Form 10-Q”), which incorporated the S-8

Registration Statement by reference. Appended as exhibits to the 1Q 2021 Form 10-Q were signed

certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants Kim and

Anand attested to the accuracy of the financial statements contained therein, the disclosure of any

material changes to the Company’s internal controls, and the disclosure of any fraud committed

by the Company, its officers, or its directors. The 1Q 2021 Form 10-Q stated: “We have policies

and procedures to protect both merchants and customers on our marketplace.” (Emphasis

added).

          126.   Beginning on June 22, 2021, and continuing for several days thereafter, news

reports revealed that Coupang was facing a growing consumer boycott, with users deleting their

Coupang accounts and encouraging others to do so, in response to details about the fire safety

failings at the Deokpyeong Facility. The boycott reached its peak on June 25, 2021. On this news,

Coupang stock declined $2.62, or 6.55%, from the close of trading on June 22, 2021, to the close



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of trading on June 25, 2021. According to Bloomberg, after the close of trading on June 22, 2021,

option contracts rose to three times the 20-day average. By June 24, 2021, options trading surged

to fifteen times the 20-day average, with puts being the most active contract.

July 2, 2021 Press Release

       127.    On or around June 14 and July 2, 2021, Coupang posted on its official website the

following statements concerning its relationships with merchants and suppliers:

               Coupang is focusing its efforts on expanding online sales channels and
               supporting sales of small and medium-sized businesses in the region.
               Coupang will continue to support small and medium-sized businesses in
               order to revitalize local coexistence and the stagnant local economy.

(Emphasis added).

       128.    On July 4, 2021, news broke that the KFTC was investigating Coupang for

manipulating its search algorithm to favor its PB products. On this news, Coupang’s stock price

dropped $0.51 per share, or 1.3%, to close at $39.95 per share on July 6, 2021, the next trading

day.

       129.    On July 14, 2021, Deutsche Bank downgraded Coupang from “buy” to “hold.”

Among other things, Deutsche Bank pointed out that “Coupang is being probed over allegations

it manipulated search algorithms to prioritize its own products over those of suppliers.”

August 11, 2021 Quarterly Earnings Call

       130.    On August 11, 2021, Coupang hosted an earnings call with investors and analysts

to discuss the Company’s results for the quarter ended June 30, 2021. During this call, Defendant

Kim stated the following:

               We exist to deliver new moments of WOW for customers. Everything we
               do at Coupang revolves around wowing our customers. Our confidence
               that we’ll continue to make investments, to keep chasing the demand, to
               make sure that our customer experience is not compromised, that we
               protect long-term customer trust. Because -- and we’ll continue to do that


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                aggressively, because we know that our investments will pay off over time.

(Emphasis added).

        131.    On that same call, Defendant Kim also stated that “Our investments that

continuously strengthen the virtuous cycle across our business are driving significant growth

for merchants and vendors.” (Emphasis added).

        132.    Meanwhile, the damage caused to the Company by the June 2021 fire at the

Deokpyeong Facility was still being revealed. In its second quarter 2021 earnings release,

published after the market closed on August 11, 2021, Coupang reported a $518.6 million loss

for the quarter, which it attributed primarily to almost $300 million in inventory and equipment

losses due to the fire at the Deokpyeong Facility in June 2021. On this news, Coupang’s stock

price dropped $3.07 per share, or 8.3%, to close at $34.13 per share on August 12, 2021.

        133.    Securities analysts specifically attributed the loss to the fire at the Deokpyeong

Facility. For example, Deutsche Bank Research reported on August 12, 2021, that the “296m of

the drop was due to its warehouse fire, which impacted inventory and fixed assets.” Samsung

Securities also noted that Coupang’s “operated losses widened y-y [year-over-year] due to a one-

off cost (related to a logistics center fire in June).”

Second Quarter 2021 Form 10-Q

        134.    On August 16, 2021, Coupang filed with the SEC a quarterly report on Form 10-

Q for the period ended June 30, 2021 (the “2Q 2021 Form 10-Q”) which incorporated the S-8

Registration Statement by reference. Appended as exhibits to the 2Q 2021 Form 10-Q were

substantially the same SOX certifications as referenced in ¶125, signed by Defendants Kim and

Anand. The 2Q 2021 Form 10-Q stated: “We have policies and procedures to protect both

merchants and customers on our marketplace.” (Emphasis added).

        135.    After the close of the market on August 18, 2021, the KFTC announced that it

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fined Coupang nearly $3 million and issued it a corrective order for forcing hundreds of its

suppliers to raise the price of products at competing businesses or purchase products and services

from Coupang against their will to make up for margin losses caused by Coupang’s price match

system. On this news, Coupang stock dropped $1.24 per share, or 2.0%, to close at $31.73 per

share on August 19, 2021.

August 19, 2021 Newsroom Statement

        136.   On or around August 19, 2021, Coupang posted on its official website the

following statements concerning the KFTC sanctions:

               I will tell you about the FTC sanctions. The essence of this case is that large
               conglomerate manufacturers discriminated against supply prices in order to
               check new distribution channels such as Coupang. In fact, LG Household
               & Health Care, the No. 1 household goods company in Korea, has used its
               exclusive supplier position to supply major products to Coupang for a long
               time at prices higher than those of other distributors. . . . Coupang has
               attempted to innovate so that consumers can purchase products faster and
               cheaper in the distribution market, which has been dominated by chaebols
               and conglomerates. At the same time, we have continued to innovate
               distribution by lowering entry barriers to SMEs [small and medium-
               sized businesses] and pursuing shared growth.

(Emphasis added).

        137.   Before the market opened on September 10, 2021, a KFTC representative

announced that it had received numerous complaints that Coupang manipulated its search

algorithm to improperly prioritize its own products over those of third-party sellers. On this news,

Coupang stock dropped $0.27 per share, or 0.9%, to close at $29.98 per share on September 10,

2021.

September 16, 2021 Press Release

        138.   On or around September 16, 2021, Coupang posted on its official website the

following statements concerning its relationships with merchants and suppliers:



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                 The “Item Market,” which allows fair competition without the burden
                 of advertising costs, was also cited as a reason for being friendly to
                 small business owners. In order to solve the unfair sales structure centered
                 on advertising cost competition, Coupang is operating an “Item Market”
                 system that comprehensively evaluates price, delivery, and customer
                 response so that products that consumers will prefer the most are
                 exposed first.

          (Emphasis added).

November 12, 2021 Quarterly Earnings Call

          139.   On the morning of November 12, 2021, Coupang hosted an earnings call to discuss

the Company’s results for the quarter ended September 30, 2021. During this call, Defendant Kim

stated:

                 Our strategy to build compounding customer loyalty and long-term
                 shareholder value is reflected in our core operating tenants . . . . One, we
                 exist to deliver new moments of WOW for customers and create a
                 world where they asked, “How did we ever live without Coupang?” . .
                 . Three, we . . . employ technology, process innovation, and economies
                 of scale to create an amazing customer experience and drive operating
                 leverage and significant cash flows over time.

(Emphasis added).

          140.   During the same earnings call, Defendant Anand stated:

                 We were less aggressive on customer acquisition this quarter to improve
                 the experience for existing customers. Prioritizing what’s best for
                 customers drives loyalty and engagement and we believe that is the best
                 long-term approach.

(Emphasis added).

          141.   During the same earnings call, Defendant Kim disclosed that higher costs were

attributable to “inefficiency” and hiring troubles caused by the June 2021 fire at the Deokpyeong

Facility. On this news, Coupang’s stock price dropped $2.61 per share, or 8.9 percent, to close at



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$26.58 per share on November 12, 2021. Analysts covering Coupang took note of this in their

corresponding reports. For example, UBS noted that the supply shortage during the quarter was

due to the “loss of one of [Coupang’s] largest fulfilment centre to a fire in June.” Similarly, BofA

Global research advised that Coupang’s supply issues were “exacerbated by the loss of one of

largest fulfillment centers to a fire in June.”

Third Quarter 2021 Form 10-Q

          142.   On November 12, 2021, Coupang filed with the SEC a quarterly report on Form

10-Q for the period ended September 30, 2021 (the “3Q 2021 Form 10-Q”). Appended as exhibits

to the 3Q 2021 Form 10-Q were substantially the same SOX certifications as referenced in ¶125,

signed by Defendants Kim and Anand. The 3Q 2021 Form 10-Q stated: “We have policies and

procedures to protect both merchants and customers on our marketplace.” (Emphasis

added).

February 27, 2022 Newsroom Statement

          143.   On or around February 27, 2022, Coupang posted another statement to its online

newsroom concerning its product reviews, which provided:

                 Coupang’s product reviews are operated in a fair and transparent
                 manner, and when an employee writes a review, it is clearly stated.
                 When partners, including CPLB, launch new products in Coupang,
                 Coupang employees and members are given the opportunity to try the
                 products first, and reviews are provided to help customers shop.

(Emphasis added).

The 2021 Form 10-K

          144.   On March 3, 2022, Coupang filed with the SEC its annual report on Form 10-K

for the year ended December 31, 2021 (the “2021 Form 10-K”). Appended as exhibits to the 2021

Form 10-K were substantially the same SOX certifications as referenced in ¶125, signed by



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Defendants Kim and Anand.

       145.    The 2021 Form 10-K discussed the Company’s commitment to improving

customer experience, stating in part:

               We also continue to refine our business intelligence systems to provide
               more personalized search results and recommendations to help existing
               customers find and buy more of what they need on Coupang.

                                                    ***

               We are committed to delivering a “wow” experience to all of our customers
               every day. This commitment drives every aspect of our operations and
               pushes us to redefine the standards of e-commerce.

(Emphasis added).

       146.    With respect to Coupang’s merchants, the 2021 10-K stated in part:

               We offer merchants of all sizes effective solutions to improve their
               customer experience and enhance demand generation. Our customer-to-
               product matching technology ingests millions of new merchant listings
               daily into our product knowledge graph, and, leveraging machine learning,
               provides personalized product exposure to customers based on
               relevance and predicted customer experience. This technology helps
               merchants compete holistically on overall customer experience.

(Emphasis added).

       147.    Regarding both customers and merchants, the 2021 10-K represented: “We have

policies and procedures to protect both merchants and customers on our marketplace.”

(Emphasis added).

       148.    On March 6, 2022, the KFTC announced that it issued a corrective order to

Coupang for failing to maintain written dispute resolution policies accessible to customers on its

platform in violation of South Korea’s Electronic Commerce Act.

       149.    On this news, Coupang’s stock declined $1.38, or 6.5%, to close at $19.72 at the

close of trading on March 7, 2022.



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        150.   On March 9, 2022, UBS published a note in which it observed that “Coupang

shares have fallen 58% since its IPO in March 2021.” Among other things, it attributed that drop

to “regulatory risks” arising from “online platform regulations.”

        151.   After market close on March 14, 2022, PSPD announced that it reported Coupang

to the KFTC for manipulating product reviews for its PB products to ensure they receive more

exposure in its search results and published findings supporting its claim. On this news,

Coupang’s stock declined $0.67 to close at $15.45 on March 15, 2022, representing a decline of

4.1%.

        152.   The statements in paragraphs ¶¶94-114, 116, 119-121, 123-125, 127, 130, 131,

134, 136, 138-140, 142-147 above were materially false and/or misleading and failed to disclose

that: (1) the labor conditions for its frontline workers continued to be unsafe; (2) Coupang

maintained large fulfillment centers that failed to follow basic fire safety measures; (3) Coupang

used its position of power to coerce hundreds of suppliers to raise the price of their goods on

competing sites or to purchase advertising from Coupang against their will to protect Coupang’s

profit margins on those goods when they eroded or were lost; (4) Coupang misappropriated

protected trade content from its merchants to maximize the commissions it earned on third-party

sales; (5) Coupang manipulated its search algorithm, favoring high-margin PB products to the

detriment of suppliers and merchants with similar products; and (6) Coupang failed to reveal to

merchants and customers they were under investigation by the KFTC since before its IPO. As a

result, the Company’s statements were materially misleading and/or lacked a reasonable basis.

                                 DAMAGES TO COUPANG

        153.   The Individual Defendants’ misconduct has directly and proximately caused

Coupang to lose and expend many millions of dollars.



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          154.   These expenditures include, without limitation, the costs and fees associated with

the Securities Class Action filed against Coupang, its CEO, and its CFO, any internal

investigations conducted by the Company, and amounts paid to outside lawyers, accountants,

investigators, or other consultants in connection thereto.

          155.   These expenditures also include, without limitation, unjust compensation,

benefits, and other payments paid to the Individual Defendants who were breaching their fiduciary

duties.

          156.   The Individual Defendants’ misconduct has directly and proximately caused

Coupang to suffer a loss of reputation and goodwill. A “liar’s discount” will affect the Company’s

stock moving forward due to the Company’s and the Individual Defendants’ misrepresentations

and the Individual Defendants’ breaches of fiduciary duties.

                 DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

          157.   Plaintiff brings this action derivatively for the benefit of Coupang to remedy

injuries suffered as a result of the Individual Defendants’ breaches of their fiduciary duties as

directors and/or officers of Coupang, violations of the Exchange Act, unjust enrichment, as well

as for contribution and indemnification under Sections 10(b) and 21D of the Exchange Act and

11(f) of the Securities Act.

          158.   Coupang is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

          159.   Plaintiff is, and has been at all relevant times, a shareholder of Coupang. Plaintiff

will adequately and fairly represent the interests of Coupang in enforcing and prosecuting its

rights, and, to that end, has retained competent counsel, experienced in derivative litigation, to

enforce and prosecute this action.

          160.   Plaintiff incorporates by reference and realleges each and every allegation stated

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above as if fully set forth herein.

        161.    A pre-suit demand on the Board of Coupang is excused as futile. At the time this

suit was filed, the Board was comprised of seven members: Defendants Kim, Mehta, Sun, and

Warsh (the “Director Defendants”) and non-parties Jason Child, Pedro Franceschi, and Ambereen

Toubassy. Plaintiff needs to allege demand futility as to four of seven Director Defendants.

        162.    Demand is excused as to all of the Director Defendants because each of them faces

a substantial likelihood of liability due to the scheme in which they knowingly or recklessly

participated to make and/or cause the Company to make false and misleading statements and

omissions of material facts. Their participation in this scheme renders them unable to impartially

investigate the charges and decide whether to pursue this action against themselves.

        163.    The Director Defendants knowingly or recklessly participated in this scheme in

violation of their fiduciary duties. The fraudulent scheme was intended to make the Company

appear more profitable and attractive to investors. In further breach of their fiduciary duties, the

Director Defendants caused the Company to fail to maintain internal controls. As a result of this

conduct, Director Defendants breached their fiduciary duties, face a substantial likelihood of

liability, are not disinterested, and demand upon them is excused as futile.

        164.    Demand is futile on Defendant Kim for the following, additional reasons.

Defendant Kim is the Company’s CEO and the Chairman of the Board. As the Company admits,

he is a non-independent director. The Company provides Defendant Kim with his principal

occupation. He receives substantial compensation as an officer and as a director of Coupang. As

the Company’s highest officer, Defendant Kim was ultimately responsible for all of the false and

misleading statements and omissions that were made by or on behalf of the Company during the

Relevant Period. Defendant Kim personally made false and misleading statements on earnings



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conference calls, signed the Registration Statements, and signed other public statements such as

the 2021 Form 10-K, which also contained false and misleading statements. Defendant Kim also

beneficially held approximately 76% of the voting power over Coupang following the IPO due to

his ownership of Class B common stock and thus had control over Coupang. As the Company’s

CEO and as Chairman, he conducted little oversight of the scheme to cause the Company to make

false and misleading statements and consciously disregarded his duties to monitor internal

controls over reporting and engagement in the scheme. In addition, Defendant Kim is a defendant

in the Securities Class Action. Therefore, Defendant Kim breached his fiduciary duties, faces a

substantial likelihood of liability, is neither independent nor disinterested, and demand upon him

is futile and, thus, excused.

        165.    Demand is futile on Defendant Mehta for the following, additional reasons.

Defendant Mehta signed the Registration Statements and the 2021 Form 10-K, which contained

false and misleading statements. As a trusted Company director, he conducted little oversight of

the scheme to cause the Company to make false and misleading statements and consciously

disregarded his duties to monitor internal controls over reporting and engagement in the scheme.

Defendant Mehta was compensated by his role as a director of Coupang. Defendant Mehta is a

defendant in the Securities Class Action. Therefore, Defendant Mehta breached his fiduciary

duties, faces a substantial likelihood of liability, is neither independent nor disinterested, and

demand upon him is futile and, thus, excused.

        166.    Demand is futile on Defendant Sun for the following, additional reasons.

Defendant Sun signed the Registration Statements and the 2021 Form 10-K, which contained

false and misleading statements. As a trusted Company director, he conducted little oversight of

the scheme to cause the Company to make false and misleading statements and consciously



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disregarded his duties to monitor internal controls over reporting and engagement in the scheme.

Defendant Sun was compensated by his role as a director of Coupang. Further, Defendant Sun

has served as a member of the Audit Committee at all relevant times. The Company’s Audit

Committee Charter charges its members with oversight of the effectiveness of the Company’s

internal controls, the integrity of its financial statements, and its compliance with laws and

regulations. As a member of the Audit Committee, Defendant Sun failed to adequately exercise

his oversight functions as required by the Audit Committee Charter, failed to ensure the integrity

of the Company’s internal controls, and allowed materially misleading financial statements to be

disseminated in the Company’s SEC filings and other public disclosures. Defendant Sun is a

defendant in the Securities Class Action Therefore, Defendant Sun breached his fiduciary duties,

faces a substantial likelihood of liability, is neither independent nor disinterested, and demand

upon him is futile and, thus, excused.

       167.    Demand is futile on Defendant Warsh for the following, additional reasons.

Defendant Warsh signed the Registration Statements and the 2021 Form 10-K, which contained

false and misleading statements. As a trusted Company director, he conducted little oversight of

the scheme to cause the Company to make false and misleading statements and consciously

disregarded his duties to monitor internal controls over reporting and engagement in the scheme.

Defendant Warsh was compensated by his role as a director of Coupang. Therefore, Defendant

Warsh breached his fiduciary duties, faces a substantial likelihood of liability, is neither

independent nor disinterested, and demand upon him is futile and, thus, excused.

       168.    Demand is futile on the Board for the following, additional reasons.

       169.    Defendant Anand and Defendant Parker are employed by Coupang. As such, the

Director Defendants cannot impartially consider a demand into Anand’s and Parker’s misconduct



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due to their influence over the Board as high-level officers at Coupang responsible in the

Company’s daily operations.

          170.   Coupang has been exposed to significant losses due to the wrongdoing complained

of herein. Still, the Director Defendants have not filed any lawsuits against the Individual

Defendants, including themselves, or any others who were responsible for this wrongdoing,

making no attempt to recover for Coupang any part of the damages it has suffered due to this

wrongdoing. Therefore, any demand now upon the Director Defendants would be futile.

          171.   The Individual Defendants’ actions were not the product of legitimate business

judgment as they were based on bad faith and intentional, reckless, or disloyal misconduct. Thus,

none of the Director Defendants can claim exculpation from their violations of duty. As all of the

Director Defendants face a substantial likelihood of liability, they are self-interested in the

transactions challenged herein are incapable of independently and disinterestedly considering

whether to pursue this action on behalf of the Company. Therefore, demand is further excused as

futile.

          172.   For the foregoing reasons, all of the Director Defendants, and if not all of them

then at least four, cannot consider a demand with disinterestedness and independence. Therefore,

a demand upon the Board is excused as futile.

                                     FIRST CLAIM
  Against Individual Defendants for Violations of 10(b) of the Exchange Act, 15 U.S.C. §
                       78(j), and Rule 10b-5, 17 C.F.R. § 240.10b-5

          173.   Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

          174.   The Individual Defendants violated Section 10(b) of the Exchange Act, 15 U.S.C.

§ 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.



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        175.   The Individual Defendants, individually and in concert, directly or indirectly,

disseminated or approved the materially untrue and misleading statements specified above, which

they knew or should have known were misleading in that they contained misrepresentations and

failed to disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        176.   The Individual Defendants violated Section 10(b) of the Exchange Act and Rule

10b-5 in that they: (i) employed devices, schemes, and artifices to defraud; (ii) made false

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading;

and/or (iii) engaged in acts, practices, and a course of business that operated as a fraud or deceit

upon Plaintiff and others similarly situated.

        177.   The Individual Defendant acted with scienter because they: (i) knew that the public

documents and statements issued or disseminated in the name of Coupang were materially untrue

or misleading; (ii) knew that such statements or documents would be issued or disseminated to

the investing public; and (iii) knowingly and substantially participated or acquiesced in the

issuance or dissemination of such statements or documents as primary violation of the securities

laws.

        178.   The Individual Defendants, by virtue of their receipt of information reflecting the

true facts of Coupang, their control over, and/or receipt and/or modification of the Company’s

allegedly materially misleading statements, and/or their associations with the Company which

made them privy to confidential proprietary information concerning Coupang, participated in the

fraudulent scheme alleged herein.

        179.   As a result of the foregoing, the market price of the Coupang's common stock was



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artificially inflated during the Relevant Period. In ignorance of the falsity of the statements, the

Company’s stockholders relied on the statements described above and/or the integrity of the

market price of the Company’s common stock in purchasing Coupang's common stock at prices

that were artificially inflated as a result of these false and misleading statements and were

damaged thereby.

                                        SECOND CLAIM
              Against the Individual Defendants for Breach of Fiduciary Duties

       180.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       181.    Each Individual Defendant owed to Coupang the duty to exercise candor, good

faith, and loyalty in the management and administration of the Company’s business and affairs.

       182.    Each of the Individual Defendants breached their fiduciary duties of candor, good

faith, loyalty, reasonable inquiry, oversight, and supervision.

       183.    The Individual Defendants’ conduct was due to their intentional or reckless breach

of the fiduciary duties they owed to Coupang. The Individual Defendants intentionally or

recklessly breached or disregarded their fiduciary duties to protect the rights and interests of

Coupang.

       184.    In breach of their fiduciary duties owed to Coupang, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and misleading statements

and omissions of material fact that failed to disclose, inter alia, that (1) the labor conditions for

its frontline workers continued to be unsafe; (2) Coupang maintained large fulfillment centers that

failed to follow basic fire safety measures; (3) Coupang used its position of power to coerce

hundreds of suppliers to raise the price of their goods on competing sites or to purchase

advertising from Coupang against their will to protect Coupang’s profit margins on those goods


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when they eroded or were lost; (4) Coupang misappropriated protected trade content from its

merchants to maximize the commissions it earned on third-party sales; (5) Coupang manipulated

its search algorithm, favoring high-margin private brand products to the detriment of suppliers

and merchants with similar products; and (6) Coupang failed to reveal to merchants and customers

they were under investigation by the KFTC since before its IPO. As a result, Coupang’s public

statements were materially false and misleading at all relevant times.

       185.    The Individual Defendants failed to correct and/or caused the Company to fail to

correct the false and misleading statements and omissions of material fact, rendering them

personally liable to the Company for breaching their fiduciary duties.

       186.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail

to maintain internal controls. The Individual Defendants had actual knowledge that the Company

was engaging in the fraudulent schemes set forth herein, and that internal controls were not

adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent schemes and to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of

Coupang’s securities.

       187.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       188.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Coupang has sustained significant damages. As a result of the misconduct

alleged herein, the Individual Defendants are liable to the Company.



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       189.    Plaintiff on behalf of Coupang has no adequate remedy at law.

                                           THIRD CLAIM
                 Against the Individual Defendants for Unjust Enrichment

       190.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       191.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made, the Individual Defendants were unjustly enriched at

the expense of, and to the detriment of, Coupang.

       192.    The Individual Defendants either benefitted financially from the improper

conduct, or received profits, bonuses, stock options, or similar compensation from Coupang that

was tied to the performance or artificially inflated valuation of Coupang, or received

compensation that was unjust in light of the Individual Defendants’ bad faith conduct.

       193.    Plaintiff, as a shareholder and a representative of Coupang, seeks restitution from

the Individual Defendants and seeks an order from this Court disgorging all profits, including

from insider transactions, benefits, and other compensation, including any performance-based or

valuation-based compensation, obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary and contractual duties.

       194.    Plaintiff on behalf of Coupang has no adequate remedy at law.

                                           FOURTH CLAIM
              Defendants Kim and Anand for Contribution and Indemnification
                      Under Sections 10(b) and 21D of the Exchange Act

       195.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       196.    Coupang, Defendant Kim, and Defendant Anand are named as defendants in the



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Securities Class Action, which asserts claims for violations of Sections 10(b) and 20(a) of the

Exchange Act, and SEC Rule 10b-5 promulgated thereunder. If and when the Company is found

liable in the Securities Class Action for these violations, the Company’s liability will be in whole

or in part due to Defendants Kim’s and Anand’s willful and/or reckless violations of their

obligations as officers and/or a director of Coupang.

       197.    Defendants Kim and Anand, because of their positions of control and authority as

CEO and CFO of Coupang, were able to and did, directly and/or indirectly, exercise control over

the business and corporate affairs of Coupang, including the wrongful acts complained of herein

and in the Securities Class Action.

       198.    Therefore, Defendants Kim and Anand are liable under 15 U.S.C. § 78j(b), which

creates a private right of action for contribution, and Section 21D of the Exchange Act, 15

U.S.C. § 78u-4(f), which governs the application of a private right of action for contribution

arising out of violations of the Exchange Act.

       199.    Thus, Coupang is entitled to receive all appropriate contribution or

indemnification from Defendants Kim and Anand.

                                         FIFTH CLAIM
         Against the Individual Defendants for Contribution and Indemnification
                            Under Section 11(f) of the Securities Act
       200.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as fully set forth herein.

       201.    As a result of the conduct and events alleged above, the Company is a defendant

in the Securities Class Actions brought on behalf of Coupang shareholders, in which it is a joint

tortfeasor in claims brought under Section 11 of the Securities Act.

       202.    Federal law provides Coupang with a cause of action against other alleged joint



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tortfeasors under Section 11(f) of the Securities Act.

       203.    The plaintiffs in the Securities Class Actions allege that the Registration Statement

contained untrue statements of material facts or omitted to state other facts necessary to make the

statements made not misleading and were not prepared in accordance with the rules and

regulations governing proper preparation.

       204.    Coupang is the registrant for the IPO. The Individual Defendants named herein

were responsible for the contents and dissemination of the Registration Statement.

       205.    As issuer of the shares, Coupang is strictly liable to the class action plaintiff and

the class for the misstatements and omissions alleged in the Securities Class Action.

       206.    The plaintiff in the Securities Class Action alleges that none of the defendants

named therein made a reasonable investigation or possessed reasonable grounds for the belief that

the statements contained in the Registration Statement were true and without omissions of any

material facts and were not misleading.

       207.    The Individual Defendants, because of their positions of control and authority as

officers and directors of Coupang, were able to and did, directly and/or indirectly, exercise control

over the business and corporate affairs of Coupang, including the wrongful acts complained of

herein and in the Securities Class Action.

       208.    Accordingly, the Individual Defendants are liable under Section 11(f) of the

Securities Act, 15 U.S.C. § 77k(f)(1), which creates a private right of action for contribution.

       209.    As such, Coupang is entitled to receive all appropriate contribution or

indemnification from the Individual Defendants.




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                                   SIXTH CLAIM
Derivative Claim Against Defendants Kim, Anand, and Parker for Gross Mismanagement

       210.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       211.    By their actions alleged herein, Defendants Kim, Anand, and Parker either directly

or through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties

with regard to prudently managing the assets and business of Coupang in a manner consistent

with the operations of publicly-held corporation.

       212.    As a direct and proximate result of Defendants Kim’s, Anand’s, and Parker’s gross

mismanagement and breaches of duty alleged herein, Coupang has sustained and will continue to

sustain significant financial and reputational damage.

       213.    As a result of the misconduct and breaches of duty alleged herein, Defendants are

liable to the Company.

       214.    Plaintiff, on behalf of Coupang, has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                       (a)     Declaring that Plaintiff may maintain this action on behalf of

       Coupang, and that Plaintiff is an adequate representative of the Company;

                       (b)     Declaring that the Individual Defendants have breached and/or

       aided and abetted the breach of their fiduciary duties to Coupang;

                       (c)     Determining and awarding to Coupang the damages sustained by it

       because of the violations set forth above from each of the Individual Defendants, jointly

       and severally, together with prejudgment and post-judgment interest thereon;


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                       (d)   Directing Coupang and the Individual Defendants to take all

       necessary actions to reform and improve Coupang’s corporate governance and internal

       procedures to comply with applicable laws and to protect Coupang and its shareholders

       from a repeat of the damaging events described herein, including, but not limited to,

       putting forward for shareholder vote the following resolutions for amendments to the

       Company’s Bylaws or Certificate of Incorporation and the following actions as may be

       necessary to ensure proper corporate governance policies:

                        1.   a proposal to strengthen the Board’s supervision of operations

               and develop and implement procedures for greater shareholder input into

               the policies and guidelines of the board;

                        2.   a provision to permit the shareholders of Coupang to

               nominate at least four candidates for election to the Board;

                        3.   a proposal to ensure the establishment of effective oversight

               of compliance with applicable laws, rules, and regulations;

                       (e)   Awarding Coupang restitution from Individual Defendants, and

       each of them;

                       (f)   Awarding Plaintiff the costs and disbursements of this action,

       including reasonable attorneys’ and experts’ fees, costs, and expenses; and

              (g)      Granting such other and further relief as the Court may deem just

and proper.




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                                     JURY DEMAND

     Plaintiff hereby demands a trial by jury.

Dated: August 16, 2023                           THE ROSEN LAW FIRM, P.A.

                                                  /s/ Laurence M. Rosen
                                                  Laurence M. Rosen
                                                  Phillip Kim
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                                                 Counsel for Plaintiff




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                                                         VERIFICATION

                    I,   Kia Tang       am    a     plaintiff in  the    within  action.    I    have
            reviewed the allegations made in this Shareholder Derivative Complaint, know the
            contents thereof, and authorize its filing. To those allegations of which I have personal
            knowledge, I believe those allegations to be true. As to those allegations of
            which      I   do    not     have personal knowledge, I rely upon my counsel and their
            investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this __
            day 8/11/2023
                of_______, 2023.



                                                     __________________
                                                     Kia Tang
